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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



  PULLMAN ARMS INC.; GUNS and GEAR, LLC;
  PAPER CITY FIREARMS, LLC; GRRR! GEAR,
  INC.; and NATIONAL SHOOTING SPORTS
  FOUNDATION, INC.,

                                   Plaintiffs,                CIVIL ACTION NO.
                                                              4:16-cv-40136-TJH
                              v.

  MAURA HEALEY, ATTORNEY GENERAL FOR
  THE COMMONWEALTH OF
  MASSACHUSETTS,

                                   Defendant.


                            DEFENDANT’S MOTION TO STAY
                          UNDER COLORADO RIVER ABSTENTION

        The defendant, Attorney General Maura Healey, moves to stay this case under the

abstention doctrine articulated by the Supreme Court in Colorado River Water Conservation

District v. United States. In August 2018, counsel for the plaintiffs in this case filed another lawsuit

in Massachusetts state court that likewise challenges the Attorney General’s Enforcement Notice

on Prohibited Assault Weapons. As in this case, the plaintiffs in this new state court case, Baystate

Firearms v. Healey, contend that the Enforcement Notice is not a prosecutor’s advisory to the

public, but rather is a regulation that should have been issued pursuant to the rulemaking process

set forth in G.L. c. 30A. Because the Massachusetts court’s resolution of that state-law issue will

likely be dispositive of both of the federal constitutional claims remaining in this case, and because

of the unusually strong state interests at stake in this case, this Court should stay this matter pending

the Massachusetts court’s final resolution of the state-law claim asserted in Baystate Firearms.


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                                        BACKGROUND

       In July 2016, in response to widespread evasion of the Commonwealth’s Assault Weapons

Ban and the surging number of mass shootings with assault weapons nationwide, Attorney General

Healey informed the public of her plan to enforce the state’s Assault Weapons Ban, which prohibits

the possession and sale of “copies or duplicates” of certain enumerated weapons. See G.L. c. 140,

§§ 121 and 131M; Amended Compl. Exs. J, K, L (ECF Doc. Nos. 15-10 to 15-12). She issued a

public Enforcement Notice, applicable prospectively, that “provides guidance on the identification

of weapons that are ‘copies’ or ‘duplicates’ of the enumerated Assault weapons that are banned

under Massachusetts law.” See Amended Compl. Ex. G (ECF Doc. No. 15-7).

I.     District Court Proceedings in Pullman Arms v. Healey.

       The plaintiffs filed this action in September 2016 to challenge the Enforcement Notice. See

ECF Doc. Nos. 1, 15. The Attorney General moved to dismiss the amended complaint in January

2017. See ECF Doc. No. 22. In April 2018, this Court denied the motion, but agreed with the

Attorney General that two of the plaintiffs’ claims must be dismissed. See Pullman Arms, Inc. v.

Healey, 301 F. Supp. 3d 227 (D. Mass. 2018). Specifically, this Court “agree[d] that a facial

challenge to the Notice would be inappropriate for the reasons the Attorney General outline[d]” in

her motion. Id. at 232. And this Court rejected the plaintiffs’ “somewhat gratuitous argument that

the Enforcement Notice unconstitutionally burdens the Second Amendment.” Id. at 233; see also

Br. for Plaintiffs-Appellees in Pullman Arms v. Healey, at 13 n. 7 (1st Cir. No. 18-1331) (“The

Complaint also raised a Second Amendment claim, which was dismissed.”).

       In denying the Attorney General’s motion to dismiss, however, this Court ruled that the

plaintiffs could pursue a claim alleging that the Enforcement Notice is unconstitutionally vague as

applied to certain weapons specified in the amended complaint—IWI Tavor rifles, FN PS90 rifles,



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Kel-Tec RFB rifles, .22 caliber rimfire AR-15 style rifles (including Smith & Wesson M&P 15-

22 rifles), and Springfield Armory M1A rifles. Id. at 232-34. This Court emphasized that “the

portion of this case that survives the motion to dismiss is limited to the question of whether or not

the firearms enumerated by the plaintiffs do or do not fall within the scope of the Attorney

General’s intent with respect the definition of banned assault weapons.” Id. at 233-34. In

recognizing that as-applied vagueness claim, the Court rejected the Attorney General’s argument

that, under the principles set forth in Beckles v. United States, 137 S. Ct. 886 (2017), an as-applied

vagueness claim was not subject to review, concluding instead that the “Enforcement Notice is

reviewable because it is regulatory in effect.” Id. at 231.

       This Court also held that the amended complaint stated a claim that the Enforcement Notice

“deprived the Plaintiffs of property without due process” of law. Id. at 233. Because the amended

complaint had not denominated a count for violation of procedural due process, the plaintiffs later

clarified that a procedural due process claim was asserted in paragraphs 5-8, 39-41, and 68-72 of

their amended complaint. See Br. for Plaintiffs-Appellees in Pullman Arms v. Healey, at 13 (1st

Cir. No. 18-1331) (“The Complaint also states allegations sufficient to claim violation of the …

Fourteenth Amendment due process rights arising from the Enforcement Notice’s deprivation of

Plaintiffs-Appellees’ property interest in their licensure to sell the firearms. (Am. Compl., ¶¶ 5-8,

A. 2-3; ¶¶ 39-41, A. 24-38; ¶¶ 68-72, A. 23.)”). After identifying a procedural due process claim

in the amended complaint, this Court declined to dismiss separate state law claims, asserted in

paragraphs 79 and 94 of the amended complaint, as barred by the Eleventh Amendment. See

Pullman Arms, 301 F. Supp. 3d at 233. Those claims alleged that the “Enforcement Notices

exceeds the Attorney General’s statutory authority” under Massachusetts law. Amended Compl.

(ECF Doc. No. 15) ¶¶ 79, 94.



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II.     District Court Proceedings in Worman v. Healey.

        While the Pullman Arms case was pending before this Court, another group of gun owners

and gun dealers filed a lawsuit against the Attorney General and other state officials to challenge

the Assault Weapons Ban and the Enforcement Notice. See Worman v. Healey, 293 F. Supp. 3d

251 (D. Mass. 2018). Their complaint raised a Second Amendment challenge to the Assault

Weapons Ban, a vagueness challenge to the phrase “copies or duplicates” in the Assault Weapons

Ban, and a due process challenge to the Enforcement Notice. Id. at 259-60.

        After a period of discovery, the parties cross-moved for summary judgment. Id. at 257. The

District Court (Young, J.) granted judgment to the state defendants on the Second Amendment and

vagueness claims and dismissed the due process challenge to the Enforcement Notice as unripe.

Id. at 259-72. On the first claim, the court determined that assault weapons and large-capacity

magazines are not protected by the Second Amendment. Id. at 264-67. On the third claim, the court

ruled that the “plain meaning” of the phrase “copies or duplicates” in the Assault Weapons Ban

“provides a person of ordinary intelligence fair notice as to what is prohibited under the Act.” Id.

at 269. That phrase, the court explained, “plainly refers to exact replicas of the enumerated firearms

as well as firearms that may not be identical to the enumerated firearms but are nevertheless

‘imitations.’” Id.

        With respect to the second claim—the due process challenge to the Enforcement Notice—

the court explained that the Enforcement Notice is “a prosecutor’s advisory to the public of her

interpretation of a criminal law committed to her enforcement.” Id. at 261 (internal quotation marks

omitted). “The mere existence of the Enforcement Notice, which was not directed at any particular

individual or entity and contemplates that it may be ‘alter[ed] or amend[ed],’” the court explained,

“does not bring about a change in rights or obligations.” Id. at 261-62. Thus, the court disagreed



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with this Court’s ruling in Pullman Arms “that the Enforcement Notice itself has the effect of a

regulation and is reviewable.” Id. at 261 n. 5. To conclude that the Enforcement Notice affects

rights and obligations like a final agency action, the Worman Court explained, “would be to exalt

form over substance and discourage a desirable practice: If any comment on a law’s interpretation

by the Attorney General could be considered to have binding effect just because citizens may

accord it considerable weight, the Attorney General would forever remain silent, providing citizens

with less notice and creating a higher risk that their rights to due process may someday be

violated.” Id. at 261 (emphasis in original). The Court thus ruled that the Worman plaintiffs’ due

process challenge to the Enforcement Notice was not ripe for adjudication. Id. at 259-63.

III.   Appeals in Pullman Arms and Worman.

       In Pullman Arms, the Attorney General took an interlocutory appeal of only the denial of

her motion to dismiss the plaintiffs’ state law claims, asserted in paragraphs 79 and 94 of the

amended complaint, on the basis of Eleventh Amendment immunity. After briefing, and during

oral argument in the First Circuit, counsel for the plaintiffs stipulated to dismissal of the state law

claims asserted in the amended complaint, stating that the plaintiffs “could not, in when we go

back and actually litigate this in district court, prevail on a theory that here’s the law, here’s the

notice, it redefines the law, it exceeds her authority.” In view of that stipulation, counsel for the

Attorney General agreed that the appeal could be dismissed. The First Circuit accordingly

dismissed the appeal “[b]ased upon the representation of the plaintiffs-appellees, made in open

court, that they are not pursuing any state-law claims in the underlying action.” Judgment, Pullman

Arms v. Healey, First Cir. No. 18-1331. Two federal claims thus remain in the Pullman Arms case

on remand: (1) a claim challenging the Enforcement Notice as vague as applied to the five weapons

identified in the amended complaint, and (2) a procedural due process claim.



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       In Worman, the plaintiffs appealed only the judgment in favor of the state defendants on

their Second Amendment challenge to the Assault Weapons Ban. They did not appeal the entry of

judgment for the Commonwealth on the vagueness claim or the dismissal of the due process

challenge to the Enforcement Notice as unripe. See Br. of Plaintiffs-Appellants in Worman v.

Healey, at 3 n. 1 (1st Cir. No. 18-1545). Thus, they did not contest the District Court’s

characterization of the Enforcement Notice as a prosecutorial advisory rather than a regulation.

The First Circuit heard argument on the Worman appeal on January 9, 2019.

IV.    Baystate Firearms v. Healey Lawsuit in State Court.

       In August 2018, while the First Circuit appeals were pending in Pullman Arms and

Worman, the lawyers representing the plaintiffs in this case filed another lawsuit against the

Attorney General, this time on behalf of Baystate Firearms and Training, LLC and Downrange

Inc., two different gun dealers. See Exhibit A (Petition for Declaratory Relief). Originally filed in

the Supreme Judicial Court for Suffolk County, this lawsuit asserts a Declaratory Judgment Act

claim under G.L. c. 231A. See id. ¶¶ 45-53. The claim alleges that the Enforcement Notice is not

a prosecutor’s advisory of her interpretation of a criminal law, but rather is a regulation that should

have been issued under the administrative rulemaking process set forth in G.L. c. 30A. See id.

After the Attorney General filed an answer, the Single Justice requested supplemental briefing on

whether the claim is “ripe for review” and “whether the enforcement notice identified in the

plaintiff’s complaint should be subject to pre-enforcement judicial review.” See Exhibit B. The

Single Justice thereafter transferred the case to the Massachusetts Superior Court in accordance

with G.L. c. 211, § 4A. See Exhibit C. The case is now pending in Suffolk Superior Court, No.

1984CV00004.




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                                           ARGUMENT

       The common thread running through the Pullman Arms and Worman cases, as well as the

new Baystate Firearms case, is a question of state law—namely, is the Enforcement Notice a

prosecutor’s advisory of her interpretation of criminal law committed to her enforcement, or is it

a regulation? That question is now squarely before the state court in Baystate Firearms, where the

plaintiffs seek a declaration that “[t]he Enforcement Notice constitutes a regulation under state

law” that must be invalidated under G.L. c. 30A. See Exhibit A, ¶ 2. The Massachusetts court’s

resolution of that question will, of course, be binding on federal courts. In these circumstances,

involving parallel state and federal litigation, the Colorado River doctrine permits federal courts

to stay their hand when exceptional circumstances warrant abstention. This case meets that high

standard, because both remaining federal claims are intertwined with an issue of state law that will

likely be dispositive of the federal claims and that implicates unusually strong state interests.

       In Colorado River Water Conservation District v. United States, the Supreme Court

recognized that “the pendency of a similar action in state court may merit federal abstention based

on ‘considerations of wise judicial administration’ that counsel against duplicative lawsuits.”

Jimenez v. Rodriguez-Pagan, 597 F.3d 18, 27 (1st Cir. 2010) (quoting Colorado River Water

Conservation Dist. v. United States, 424 U.S. 800, 817 (1976)). Federal abstention under the

Colorado River doctrine is appropriate in cases that involve “exceptional circumstances or

implicate broad policy considerations.” KPS & Assocs., Inc. v. Designs By FMC, Inc., 318 F.3d 1,

11 (1st Cir. 2003).

       The First Circuit has developed a “non-exclusive list of factors” that bear on whether a

federal court should abstain under Colorado River pending the outcome of parallel state court

proceedings. Jimenez, 597 F.3d at 27. Those factors include:



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       (1) whether either court has assumed jurisdiction over a res; (2) the [geographical]
       inconvenience of the federal forum; (3) the desirability of avoiding piecemeal
       litigation; (4) the order in which the forums obtained jurisdiction; (5) whether state
       or federal law controls; (6) the adequacy of the state forum to protect the parties’
       interests; (6) the vexatious or contrived nature of the federal claim; and (8) respect
       for the principles underlying removal jurisdiction.

Id. at 27-28. This “is not an exhaustive list, nor is it a litmus test for Colorado River deference,

which must remain a discretionary tool.” Currie v. Group Ins. Comm’n, 290 F.3d 1, 10 (1st Cir.

2002). The decision whether to abstain “‘does not rest on a mechanical checklist, but on a careful

balancing of the important factors as they apply in a given case.’” Jimenez, 597 F.3d at 28 (quoting

Moses H. Cone Memorial Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 16 (1983)).

       While several of the factors are neutral in this case, the third and fifth factors—“the

desirability of avoiding piecemeal litigation,” and “whether state or federal law controls”—counsel

strongly in favor of abstention. Indeed, this case bears striking similarity to Currie v. Group

Insurance Commission, a case in which the First Circuit abstained and granted a stay under

Colorado River based in large part on the strength of the same factors. Currie involved two federal

constitutional claims that were “intertwined” with the issue of state law that was “currently

pending before the state courts.” Currie, 290 F.3d at 10. Importantly, the state court’s resolution

of the issue of state law might have mooted the federal claims. Id. at 9.

       The same circumstances are present in this case. Regardless of how the state court rules in

Baystate Firearms, the disposition of the remaining claims in Pullman Arms will be greatly

simplified. If, in Baystate Firearms, the Massachusetts court rules that the Enforcement Notice is

a prosecutor’s advisory of her interpretation of a criminal law—not a regulation—both of the

federal constitutional claims in this case would likely fail as a matter of law. Specifically, the

Attorney General would renew her argument that, under the Supreme Court’s decision in Beckles,

the Enforcement Notice (as an advisory) is not subject to pre-enforcement as-applied vagueness

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challenges. See supra, at 3. And the plaintiffs’ procedural due process claim would be untenable,

because the plaintiffs have not identified any process that would be due before a prosecutor advises

the public on her interpretation of a criminal law. Instead, their procedural due process claim is

premised on the theory that the Constitution required the Attorney General to follow the

rulemaking procedures in G.L. c. 30A before she could issue the Enforcement Notice—the very

theory that would have been rejected in Baystate Firearms.1 Conversely, if the Massachusetts court

rules that the Enforcement Notice is a regulation that should have gone through rulemaking under

G.L. c. 30A, then the Enforcement Notice would be invalid and the Pullman Arms plaintiffs’

federal constitutional claims challenging that Notice would be moot. Thus, this case involves that

rare circumstance where “Colorado River has special appeal”—namely, “where a state court

decision ‘may substantially, perhaps even fully, answer certain questions of state law in a way that

will permit easy answers, relatively speaking, to the federal ones.’” Currie, 290 F.3d at 11 (quoting

Kartell v. Blue Shield of Mass., 592 F.2d 1191, 1193-94 (1st Cir. 1979)).

       The concerns about avoiding piecemeal litigation that animate Colorado River abstention

are particularly acute in this case. The First Circuit has explained that “[w]eight may be afforded

to the piecemeal litigation factor only where the implications and practical effects of litigating the

parallel actions provide an exceptional basis for surrendering federal jurisdiction, such as a clear

competing policy or some special complication.” Nazario-Lugo v. Caribevision Holdings, Inc.,

670 F.3d 109, 116 (1st Cir. 2012) (emphasis in original). The quintessential “exceptional basis”

under this test comes from Currie, where the First Circuit stayed the federal action “partly to avoid




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     See, e.g., Amended Compl. (ECF Doc. No. 15) ¶ 2 (“the 2016 Enforcement Notice issued
without any administrative process or input from affected parties”); ¶ 40 (“The Attorney General
did not follow in any manner the requirements of G.L. c. 30A in issuing what constitutes a
regulation in the form of the Enforcement Notice.”).
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rendering an advisory opinion.” Id. (citing Currie, 290 F.3d at 9-13). That same exceptional basis

is present here. For the reasons described, regardless of how this Court ultimately views the

Enforcement Notice—as either a prosecutor’s advisory or a regulation—an opposite conclusion

by the state court in Baystate Firearms would likely render this Court’s decision advisory. See

supra, at 8-9. Thus, there is an especially strong “exceptional basis” for allowing the Massachusetts

court to proceed to final judgment in Baystate Firearms first. See, e.g., Rivera-Feliciano v.

Acevedo-Vila, 438 F.3d 50, 62 (1st Cir. 2006) (finding that “it would be better to avoid the

piecemeal litigation” and permit a Puerto Rico court to “decide … controlling issues of Puerto

Rico law first”); Liberty Mut. Ins. Co. v. Foremost-McKesson, Inc., 751 F.2d 475, 477 (1st Cir.

1985) (abstaining under Colorado River in light of the “real possibility that … two courts might

interpret the same standard [insurance] policy language differently”). In addition, because the same

attorneys are litigating this case and the Baystate Firearms case, a stay in the federal case would

prevent duplicative or overlapping discovery processes that would unnecessarily add to the parties’

expenses, and it would eliminate any incentive to plan litigation events in one case with an eye

toward the other case.

       Importantly, this case, like Currie, is also one in which “the state has unusually strong

interests,” and in which the importance of those interests “transcends the result in the case [now]

at bar.” Currie, 290 F.3d at 10-11 (Massachusetts had unusually strong interests in the

administration of state-provided insurance benefits). It involves the Massachusetts Attorney

General’s interpretation of, and future enforcement of, a longstanding state criminal law aimed

squarely at protecting the safety of Massachusetts residents and law enforcement officers. “It

cannot be gainsaid that Massachusetts has compelling governmental interests in both public safety

and crime prevention.” Gould v. Morgan, 907 F.3d 659, 673 (1st Cir. 2018). Indeed, “few interests



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are more central to a state government than protecting the safety and well-being of its citizens.”

Id. This case is wholly unlike those cases in which the First Circuit has declined to abstain under

Colorado River—cases involving, for example, “a simple contract dispute requiring application of

settled local law,” Nazario-Lugo, 670 F.3d at 117, or a “dispute between a vendor and its sales

representative … of primary importance only to the immediate parties,” KPS & Assocs., 318 F.3d

at 11.

         The same “comity concerns” motivating the Colorado River abstention doctrine are thus

present in this case. See Currie, 290 F.3d at 11. This Court should grant the Attorney General’s

motion to stay and abstain from further consideration of the plaintiffs’ remaining claims in this

case pending the Massachusetts courts’ final disposition of the Baystate Firearms case.

                                         CONCLUSION

         For the foregoing reasons, this Court should grant the Attorney General’s motion to stay

under the Colorado River abstention doctrine.


                                              Respectfully submitted,

                                              MAURA HEALEY
                                              ATTORNEY GENERAL

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                 CERTIFICATE PURSUANT TO LOCAL RULE 7.1(a)(2)

        I certify that, on January 30, 2019, I conferred with David Kerrigan, counsel for the
plaintiffs, and he indicated that the plaintiffs will oppose this motion.

                                                     /s/ Julia E. Kobick
                                                     Julia E. Kobick
                                                     Assistant Attorney General




                                CERTIFICATE OF SERVICE

        I certify that this document filed through the CM/ECF system will be sent electronically
to registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on February 7, 2019.

                                                     /s/ Julia E. Kobick
                                                     Julia E. Kobick
                                                     Assistant Attorney General




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